AO 442 (Rev. 11/11) Arrest Warrant                                                                                             fv9lffU
                                         United States District Court
                                                                  for the
                                                                                                               ORIGINAL
                                                       Eastern District of Virginia                                  TTSMS
                                                                                                                                       L
                      United States of America
                                 V.

                ANDREW JON THOMASBERG                                         Case No. 1:19-mj-407                             SFP I 9 2019
                                                                                                                     CLERK. U.S. DISTRICT COURT
                                                                                                                           ftP^NDRIA.VIRGINIA


                             Defendant
                                                                                                                ORIGINAL
                                                                                                                         USMS
                                                     ARREST WARRANT
                                                                                                                                es

To:       Any authorized law enforcement officer                                                                     j-n         o=>       UJ
                                                                                                              rrt        y-'    ^
                                                                                                                                 Pj             :x)
                                                                                                              , Ui-'             -o
          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge witBptitpnnecessafg^ay
(name ofperson to be arrested)        ANDREW JON THOMASBERG
                                                                                                               2SS
who is accused of an offense or violation based on the following document filed with the court:                                   5
□    Indictment            □ Superseding Indictment        □ Information         □ Superseding Informatior^ l^Cor^laiifc
                                                                                                                    C3
□ Probation Violation Petition             □ Supervised Release Violation Petition          □ Violation Notice' □ Order of tfie Court

This offense is briefly described as follows:
    Count 1: False Statement during Acquisition of a Firearm; in violation of Title 18, United States Code, Section 922(a)(6);
    Count 2: Possession of Firearm by Controlled Substance Abuser, in violation of Title 18, United States Code,
             Section 922(g)(3).



                                                                                      leresa Carroll Biishanan '
                                                                                                    -Magistrate" iudge"-
Date:
                                                                                             Issuing officer's signature

City and state:         Alexandria, VA                                      Hon. Theresa Carroll Buchanan, U.S. Magistrate Judge
                                                                                               Printed name and title



                                                                  Return


          This warrant was received on (date)            I'tf | B-0 , and the person was arrested on (date)
at (city and slate)                       \/                  .                         '

Date:                            i^
                                                                                            Arresting officer's signature



                                                                                               Printed name and title
